 4:23-cr-03037-JMG-CRZ         Doc # 22   Filed: 06/13/23   Page 1 of 2 - Page ID # 44




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                                4:23CR3037

     vs.
                                                               ORDER
CAMERON WOODS,

                  Defendant.



      Defendant has moved to continue the trial because plea negotiations are
ongoing. (Filing No. 21) because the parties are close to resolving this case.
The motion is unopposed. The court will grant the motion as follows.

      1)    Defendant’s motion, (Filing No. 21), is granted. The trial of this case
            and all expert disclosure deadlines are continued.

      2)    The hearing set for June 14, 2023 is continued, and it will be
            held before the undersigned magistrate judge in Courtroom 2,
            Lincoln Federal Building on June 23, 2023 at 1:00 p.m., and:

            a) If the defendant has decided to plead guilty, the plea hearing will
               be held at that time.

            b) If Defendant has decided not to plead guilty, the court will set this
               case for trial, set new expert disclosure deadlines as needed, and
               hold a Frye hearing if a written plea agreement was extended to
               but rejected by the defendant.

            c) Defendant is ordered to appear at this hearing.

      3)    The time between June 13 , 2023 and June 23, 2023, shall be
            deemed excludable time in any computation of time under the
            requirements of the Speedy Trial Act because the parties require
            additional time to adequately prepare the case for trial, taking into
            consideration due diligence of counsel, the novelty and complexity of
            the case, and the fact that the failure to grant additional time might
4:23-cr-03037-JMG-CRZ    Doc # 22    Filed: 06/13/23   Page 2 of 2 - Page ID # 45




          result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
          Failing to timely object to this order as provided under the court’s
          local rules will be deemed a waiver of any right to later claim the time
          should not have been excluded under the Speedy Trial Act.

    June 13, 2023.                        BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
